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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY
___________________________________
                                              :
FRANK HALL, on behalf of himself              :
and all others similarly situated,            :
                                              :
                                   Plaintiff, : Civil Action No. 18-1833 (FLW) (TJB)
                                              :
              v.                              :
                                              :                   ORDER
JOHNSON & JOHNSON, et al.,                    :
                                              :
                                Defendants.   :
___________________________________ :

       THIS MATTER having been opened to the Court by James E. Cecchi, Esq., counsel for

Plaintiff the San Diego County Employees Retirement Association (“SDCERA”), on a motion to

appoint SDCERA as lead plaintiff and Robbins Geller Rudman & Dowd LLP as lead counsel; it

appearing that Plaintiff Frank Hall, through his counsel Laurence M. Rosen, Esq., filed a motion

for appointment of lead plaintiff and counsel but withdrew his motion (ECF No. 10), and that

Plaintiff Oleg Fishman, through his counsel Eduard Korsinksy, Esq, filed a motion for appointment

of lead plaintiff and counsel but filed a notice of non-opposition to SDCERA’s motion (ECF No.

12); it appearing, therefore, that SDCERA is the only remaining Plaintiff pursuing appointment of

lead plaintiff and lead counsel; the Court having reviewed the submissions of all parties in

connection with the pending motions, pursuant to Fed. R. Civ. P. 78, finds that SDCERA is

qualified to serve as lead plaintiff because it has the largest financial loss of the moving parties

and will fairly and adequately protect the interests of the class, see 15 U.S.C. § 4(a)(3)(B)(iii)(II),

and also finds, having reviewed its resume, that Robbins Geller Rudman & Dowd LLP is qualified

to serve as lead counsel; for the foregoing reasons, and for good cause shown;

       IT IS on this 26th day of November, 2018,
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       ORDERED that SDCERA’s motion (ECF No. 9) is GRANTED, and SDCERA is

hereby appointed as Lead Plaintiff, and the law firm of Robbins Geller Rudman & Dowd LLP is

hereby appointed as Lead Counsel; and it is further

       ORDERED that the motions filed by Hall (ECF No. 6) and Fishman (ECF No. 5) are

DENIED.



                                                      /s/ Freda L. Wolfson
                                                      Hon. Freda L. Wolfson
                                                      United States District Judge




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